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                       EXHIBIT A


    (Itemized List of Fees and Expenses)
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DATE        NAME / INVOICE NUMBER   HOURS   DESCRIPTION

BILLABLE TIME
6/6/2011    Timothy E. Kapshandy     0.4    Meet and confer with plaintiffs attorney re
                                            membership lists; outline motion to compel

6/6/2011    Timothy E. Kapshandy     0.4    Meet and confer with plaintiffs attorney re
                                            calendars; outline motion to compel

6/8/2011    Meredith H. Dudley       2.5    Organize discovery materials in preparation for
                                            upcoming motions per T. Kapshandy

6/8/2011    Timothy E. Kapshandy     0.6    Draft motion to compel member lists

6/8/2011    Timothy E. Kapshandy     0.4    Draft motion to compel server

6/10/2011   Timothy E. Kapshandy     0.9    Draft motion to compel members lists

6/10/2011   Timothy E. Kapshandy     0.4    Draft motion to compel server

6/10/2011   Meredith H. Dudley       2.5    Organize discovery materials, gather documents
                                            pertinent to the upcoming motions and upload to
                                            the shared server per T. Kapshandy

6/13/2011   Timothy E. Kapshandy     0.5    Draft motion to compel server

6/13/2011   Timothy E. Kapshandy     0.7    Draft motion to compel member lists

6/14/2011   HL Rogers                1.3    Meeting re motions; review documents re motion;
                                            review research

6/14/2011   Timothy E. Kapshandy     0.3    Draft motion to compel member lists

6/14/2011   Timothy E. Kapshandy     0.3    Draft motion to compel server

6/14/2011   Meredith H. Dudley       0.3    Meeting regarding preparation for the upcoming
                                            Motion to Compel Servers per T. Kapshandy

6/14/2011   Meredith H. Dudley       0.3    Meeting regarding preparation for the upcoming
                                            Motion to Compel Member Lists per T. Kapshandy

6/14/2011   Meredith H. Dudley       0.7    Motion to Compel Servers - Prepare exhibits for
                                            the upcoming motion per T. Kapshandy

6/14/2011   Meredith H. Dudley       0.7    Motion to Compel Member Lists - Prepare
                                            exhibits for the upcoming motion per T.
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                                          Kapshandy

6/14/2011   Thomas E. Ross         1.2    Teleconference with T. Kapshandy and
                                          legal assistants re: motions to compel (0.6);
                                          teleconference with T. Kapshandy, HL Rogers,
                                          and P. Jensen re: same (0.6)

6/15/2011   Meredith H. Dudley     0.6    Motion to Compel Servers - Prepare exhibits for
                                          the upcoming motion per T. Kapshandy

6/15/2011   Meredith H. Dudley     0.6    Motion to Compel Member Lists - Prepare
                                          exhibits for the upcoming motion per T.
                                          Kapshandy

6/16/2011   Meredith H. Dudley     0.8    Motion to Compel Member Lists - Prepare
                                          exhibits for the upcoming motion per T.
                                          Kapshandy

6/16/2011   Meredith H. Dudley     0.8    Motion to Compel Servers - Prepare exhibits for
                                          the upcoming motion per T. Kapshandy

6/17/2011   Timothy E. Kapshandy   0.9    Draft motion to compel member lists

6/17/2011   Meredith H. Dudley     1.6    Motion to Compel Member Lists - Prepare
                                          exhibits for the upcoming motion per T.
                                          Kapshandy

6/17/2011   Meredith H. Dudley     1.6    Motion to Compel Servers - Prepare exhibits for
                                          the upcoming motion per T. Kapshandy

6/21/2011   Timothy E. Kapshandy   0.8    Draft motion to compel membership lists

6/21/2011   Meredith H. Dudley     0.5    Motion to Compel Servers - Prepare exhibits for
                                          the upcoming motion per T. Kapshandy

6/21/2011   Meredith H. Dudley     0.5    Motion to Compel Member Lists - Prepare
                                          exhibits for the upcoming motion per T.
                                          Kapshandy

6/22/2011   Meredith H. Dudley     0.5    Motion to Compel Member Lists - Prepare
                                          exhibits for the upcoming motion per T.
                                          Kapshandy

6/22/2011   Meredith H. Dudley     0.5    Motion to Compel Servers - Prepare exhibits for
                                          the upcoming motion per T. Kapshandy

6/22/2011   Timothy E. Kapshandy   0.3    Draft and revise motion to compel server
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6/22/2011   Timothy E. Kapshandy   0.9    Draft and revise motion to compel member lists

6/23/2011   Meredith H. Dudley      2     Motion to Compel Servers - Prepare exhibits for
                                          the upcoming motion per T. Kapshandy

6/23/2011   Meredith H. Dudley      2     Motion to Compel Member Lists - Prepare
                                          exhibits for the upcoming motion per T.
                                          Kapshandy

6/23/2011   Timothy E. Kapshandy   0.3    Draft and revise motion to compel server

6/23/2011   Timothy E. Kapshandy   0.7    Draft and revise motion to compel membership
                                          lists

6/24/2011   Meredith H. Dudley     1.7    Motion to Compel Member Lists - Prepare
                                          exhibits for the upcoming motion per T.
                                          Kapshandy

6/24/2011   Meredith H. Dudley     1.7    Motion to Compel Servers - Prepare exhibits for
                                          the upcoming motion per T. Kapshandy

6/24/2011   Timothy E. Kapshandy   0.4    Draft and revise motion to compel member lists

6/24/2011   Timothy E. Kapshandy   0.4    Draft and revise motion to compel server

6/27/2011   Meredith H. Dudley     1.7    Motion to Compel Servers - Prepare exhibits for
                                          the upcoming motion per T. Kapshandy

6/27/2011   Meredith H. Dudley     2.2    Motion to Compel Member Lists - Prepare
                                          exhibits for the upcoming motion per T.
                                          Kapshandy

6/27/2011   Timothy E. Kapshandy   0.4    Draft and revise motion to compel member lists

6/27/2011   Timothy E. Kapshandy   0.6    Draft and revise motion to compel server

6/28/2011   Timothy E. Kapshandy   0.3    Draft and revise motion to compel servers

6/28/2011   Thomas E. Ross         0.2    Prepare motion to file NIAC membership lists
                                          under seal (0.2)

6/28/2011   Meredith H. Dudley     2.2    Motion to Compel Member Lists - Prepare
                                          exhibits for the upcoming motion per T.
                                          Kapshandy

6/28/2011   Meredith H. Dudley     1.7    Motion to Compel Servers - Prepare exhibits for
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                                          the upcoming motion per T. Kapshandy

6/28/2011   Timothy E. Kapshandy   0.4    Draft and revise motion to compel member lists;
                                          office conference plaintiffs attorney

6/29/2011   Thomas E. Ross         1.2    Telephone conversation with Clerk of Court re:
                                          filing motion under seal (0.2); second
                                          telephone conversation with Clerk of Court re:
                                          same (0.1); serve motion to file exhibits under
                                          seal on opposing counsel (0.1); file same via
                                          ECF (0.1); travel to District Court to provide
                                          Clerk with documents to file under seal (0.7)

6/29/2011   Meredith H. Dudley     1.3    Motion to Compel Member Lists - Prepare
                                          exhibits for the upcoming motion per T.
                                          Kapshandy

6/30/2011   Thomas E. Ross         0.3    Telephone conversation with M. Dudley re:
                                          motions to compel (0.2); email conversation
                                          with M. Dudley re: same (0.1)

6/30/2011   Meredith H. Dudley     1.5    Motion to Compel Member Lists - Prepare
                                          exhibits for the upcoming motion per T.
                                          Kapshandy

7/1/2011    Thomas E. Ross         2.4    Prepare motions to compel for filing (1.2);
                                          telephone conversation with Clerk of Court re:
                                          same (0.1); second telephone conversation with
                                          Clerk of Court re: same (0.1); email
                                          conversation with M. Dudley re: same (0.1);
                                          telephone conversation with M. Sanger re: same (0.2);
                                          (0.1); conduct final review of motions to compel and exhibits
                                          (0.4); serve same on opposing counsel (0.2); file same with
                                          Court (0.3)

7/5/2011    Meredith H. Dudley     1.5    Motion to Compel Member Lists - Prepare
                                          exhibits for the upcoming motion per T.
                                          Kapshandy

7/6/2011    Thomas E. Ross         0.9    Email conversation with M. Dudley re: exhibits
                                          to motions to compel (0.2); file CD of documents to
                                          file under seal at US District Court (0.7)

7/7/2011    Thomas E. Ross         0.2    Telephone conversation with M. Dudley re:
                                          finalizing and filing motions to compel (0.2)

8/1/2011    Timothy E. Kapshandy   0.3    Review plaintiffs response to member list
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                                          information memo

8/1/2011   Timothy E. Kapshandy    0.3    Review plaintiffs response to server memo

8/1/2011   Jeffery H. Tisak         2     Review NIAC documents for Reply to Motion to
                                          Compel Server as per T. Kapshandy.

8/1/2011   Thomas E. Ross          0.3    Review Plaintiffs' responses to motions to compel (0.3)

8/2/2011   Thomas E. Ross          0.6    Email conversation with T. Kapshandy re:
                                          motions to compel replies (0.1);

8/2/2011   Jeffery H. Tisak         5     Review NIAC documents for Motion to Compel
                                          Server as per T. Kapshandy.

8/2/2011   Timothy E. Kapshandy    0.5    Review plaintiffs server response

8/2/2011   Timothy E. Kapshandy    0.5    Review plaintiffs membership response

8/3/2011   Jeffery H. Tisak        2.3    Review NIAC documents for Motion to Compel
                                          Server as per T. Kapshandy.

8/3/2011   Timothy E. Kapshandy    1.1    Draft and revise reply to server motion

8/3/2011   Meredith H. Dudley       1     Motion to Compel Membership Lists - Prepare
                                          exhibits for Def's Reply to Pltf's Response to
                                          Motion to Compel per T. Kapshandy

8/3/2011   Meredith H. Dudley       1     Motion to Compel Servers - Prepare exhibits for
                                          Def's Reply to Pltf's Response to Motion to
                                          Compel per T. Kapshandy

8/3/2011   Thomas E. Ross          1.1    Review emails re: second server imaging and
                                          draft timeline for T. Kapshandy (1.1)

8/4/2011   Jeffery H. Tisak        4.3    Review NIAC documents for Motion to Compel
                                          Server as per T. Kapshandy.

8/4/2011   Meredith H. Dudley       2     Motion to Compel Servers - Prepare exhibits for
                                          Def's Reply to Pltf's Response to Motion to
                                          Compel per T. Kapshandy

8/4/2011   Meredith H. Dudley      1.5    Motion to Compel Membership Lists - Prepare
                                          exhibits for Def's Reply to Pltf's Response to
                                          Motion to Compel per T. Kapshandy

8/4/2011   Timothy E. Kapshandy    1.3    Draft and revise reply to server motion; office
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                                          conference PWC

8/5/2011   Timothy E. Kapshandy    1.9    Review and revise reply to motion for server

8/5/2011   Thomas E. Ross          0.7    Draft appendix for motion to compel server (0.7)

8/6/2011   Thomas E. Ross          0.3    Review draft reply re: motion to compel server
                                          (0.2); email conversation with T. Kapshandy re:
                                          same (0.1)

8/6/2011   Timothy E. Kapshandy    2.4    Reply to server motion to compel

8/7/2011   Timothy E. Kapshandy    2.7    Reply to membership motion to compel

8/8/2011   Meredith H. Dudley       2     Motion to Compel Membership Lists - Prepare
                                          exhibits for Def's Reply to Pltf's Response to
                                          Motion to Compel per T. Kapshandy

8/8/2011   Meredith H. Dudley      2.4    Motion to Compel Servers - Prepare exhibits for
                                          Def's Reply to Pltf's Response to Motion to
                                          Compel per T. Kapshandy

8/8/2011   Jeffery H. Tisak        2.4    Review NIAC documents for Motion to Compel
                                          Server as per T. Kapshandy.

8/8/2011   Timothy E. Kapshandy    0.8    Review and revise damages motion to compel
                                          server reply

8/8/2011   Timothy E. Kapshandy    0.7    Review and revise damages motion to compel
                                          membership reply

8/8/2011   Thomas E. Ross          2.1    Draft appendix for motion to compel server
                                          (1.4); review and rise draft reply re: server
                                          (0.6); email conversation with T. Kapshandy re:
                                          same (0.1)

8/9/2011   Thomas E. Ross          0.2    Email conversation with M. Dudley re: server
                                          motion (0.2)

8/9/2011   Jeffery H. Tisak        2.5    Review NIAC documents for Motion to Compel
                                          Server as per T. Kapshandy.

8/9/2011   Jeffery H. Tisak        0.3    Review NIAC documents for Motion to Compel
                                          Membership Lists as per T. Kapshandy.

8/9/2011   Timothy E. Kapshandy    0.6    Review and revise reply to membership motion
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8/9/2011    Timothy E. Kapshandy    1.2    Review and revise reply to server motion

8/9/2011    Meredith H. Dudley       1     Motion to Compel Membership Lists - Prepare
                                           exhibits for Def's Reply to Pltf's Response to
                                           Motion to Compel per T. Kapshandy

8/9/2011    Meredith H. Dudley      1.2    Motion to Compel Servers - Prepare exhibits for
                                           Def's Reply to Pltf's Response to Motion to
                                           Compel per T. Kapshandy

8/10/2011   Meredith H. Dudley      1.3    Motion to Compel Membership Lists - Prepare
                                           exhibits for Def's Reply to Pltf's Response to
                                           Motion to Compel per T. Kapshandy

8/10/2011   Meredith H. Dudley      1.3    Motion to Compel Servers - Prepare exhibits for
                                           Def's Reply to Pltf's Response to Motion to
                                           Compel per T. Kapshandy

8/10/2011   Jeffery H. Tisak        2.5    Review NIAC documents for Motion to Compel
                                           Server as per T. Kapshandy.

8/10/2011   Jeffery H. Tisak        2.5    Review NIAC documents for Motion to Compel
                                           Membership Lists as per T. Kapshandy.

8/10/2011   Thomas E. Ross          1.6    Revise server imaging timeline (0.8); review
                                           and revise latest draft of server motion (0.8)

8/11/2011   Thomas E. Ross          0.4    Teleconference with PwC re: server motion (0.4)

8/11/2011   Jeffery H. Tisak        1.1    Review NIAC documents for Motion to Compel
                                           Server as per T. Kapshandy.

8/11/2011   Jeffery H. Tisak        1.1    Review NIAC documents for Motion to Compel
                                           Membership Lists as per T. Kapshandy.

8/11/2011   Timothy E. Kapshandy    0.7    Review and revise reply to damages motion to
                                           compel

8/12/2011   Jeffery H. Tisak        2.5    Review NIAC documents for Motion to Compel
                                           Server as per T. Kapshandy.

8/12/2011   Jeffery H. Tisak        2.5    Review NIAC documents for Motion to Compel
                                           Membership Lists as per T. Kapshandy.

8/13/2011   Timothy E. Kapshandy    0.4    Review and revise reply to membership motions

8/13/2011   Timothy E. Kapshandy    0.3    Review and revise reply to server motions
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8/15/2011   Timothy E. Kapshandy        0.3       Review and revise membership list reply

8/15/2011   Thomas E. Ross              0.1       Email conversation with M. Dudley re: filing
                                                  motions (0.1)

8/16/2011   Thomas E. Ross              0.7       Serve motions to compel (0.2); review and file
                                                  same (0.5)

8/16/2011   Meredith H. Dudley          0.7       Motion to Compel Membership Lists - Prepare
                                                  exhibits for Def's Reply to Pltf's Response to
                                                  Motion to Compel per T. Kapshandy


8/16/2011   Meredith H. Dudley          0.7       Motion to Compel Servers - Prepare exhibits for
                                                  Def's Reply to Pltf's Response to Motion to
                                                  Compel per T. Kapshandy

            Timothy E. Kapshandy        27.3
            Meredith H. Dudley          50.6
            Jeffery H. Tisak             31
            Thomas E. Ross              14.5
            HL Rogers                    1.3

            TOTAL HOURS               124.70
            TOTAL COST              $ 24,845.00


DATE        NAME / INVOICE NUMBER       COST      DESCRIPTION

EXPENSES
                                                Thomas E. Ross - Trip to/from court to file documents under
6/29/2011   Cab Fare                $     20.00 seal
7/6/2011    Cab Fare                $     20.00 Thomas E. Ross - Trip to/from court to file documents
7/1/2011    Copying Charge          $      8.10 Copy charge to prepare Motion to Compel Servers
7/1/2011    Copying Charge          $    112.50 Copy charge to prepare Motion to Compel Membership Lists
                                                Copy charge to prepare Reply in Support of Motion to
8/15/2011   Copying Charge          $     14.70 Compel Servers
                                                Copy charge to prepare Reply in Support of Motion to
8/15/2011   Copying Charge          $      8.40 Compel Membership Lists

            TOTAL EXPENSES          $    183.70


            TOTAL                   $ 25,028.70
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                               Billable Rates
                                     Hours Rate          Total
             Timothy E. Kapshandy 27.3 475          $   12,967.50
             Meredith H. Dudley      50.6      95   $    4,807.00
             Jeffery H. Tisak         31       95   $    2,945.00
             Thomas E. Ross          14.5 250       $    3,625.00
             HL Rogers                1.3     385   $       500.50
                                                    $   24,845.00
